 

Case: 1:06-cr-00551 Document #: 1 Filed: 08/03/06 Page 1 of 2 PagelD #:1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
UNITED STATES OF AMERICA F i ; EY) o6cR 0 5 5 1
" pus! a 2006 Jnge
RICARDO VALDEZ-TORRES, mone wa Odio MORay
ka “El Celebro”
ALFREDO MOLINA- GARCLAMERK 44 wo courtAGISTRATE JUDGE VALDEZ
aka “Guero,”

JESUS MARIO FAJARDO- TRUTILLO,
aka “Marito,” aka “Mario” Violations: Title 21, United States Code,

)
GUADALUPE MORENO-SOTO ) Scction and 846; Title 18,
aka “Tio,” aka “Veterano” ) United States Code, Section 2
The SPECIAL DECEMBER 2005 GRAND JURY charges:
Beginning no later than in or about 2002, and continuing until at least on or about May 21,
2006, in the Northern District of Illinois, Eastern Division, and elsewhere,
RICARDO VALDEZ-TORRES,
ALFREDO MOLINA-GARCIA,
JESUS MARIO FAJARDO-TRUIMLLAQ, and
GUADALUPE MORENO-SOTO,
defendants herein, conspired with cach other, and others known and unknown to the Grand Jury to
knowingly and intentionally possess with the intent to distribute and to distribute a controlled

substance, namely, in excess of 400 grams of mixtures containing fenlanyl, a Schedule IT Narcotic

Drug Controlled Substance, in violation of Tithe 21, United States Code, Section 841(a)(1);
 

 

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In violation of Title 21, United States Code, Section 846, and Title 18, United States Code,

Section 2.

A TRUE BILL:

 

FOREPERSON

 

UNITED STATES ATTORNEY

 
